                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION


JANE DOE, ET AL                                      CASE NO. 6:21-CV-00430

VERSUS                                               JUDGE DAVID C. JOSEPH

EDOUARD d’ESPALUNGUE d’ARROS                         MAGISTRATE JUDGE CAROL B.
                                                     WHITEHURST

                                   MINUTES OF COURT:
                                      Motion Hearing
 Date:               Jan. 19, 2024     Presiding: Judge David C. Joseph
 Court Opened:       10:32 AM          Courtroom Deputy:     Lisa LaCombe
 Court Adjourned:    10:37 AM          Court Reporter:       Cathleen Marquardt
 Statistical Time:   5 Minutes         Courtroom:            CR1

                                       APPEARANCES
 Elwood Clement Stevens, Jr.                 For   Jane Doe, Plaintiff

                                       PROCEEDINGS

Case called for hearing regarding [92] Exparte Motion for Default Judgment by all Plaintiffs.

Having no appearance by Defendant, Edouard d’Espalungue d’Arros, and for the reasons stated
on the record, the Court accepted the evidence taken at the evidentiary hearing held on October
12 – 13, 2022, and will issue a ruling on [92] Motion for Default Judgment.
